             Case 1-19-14070-cjf               Doc 1          Filed 12/06/19 Entered 12/06/19 17:33:45                         Desc Main
                                                              Document Page 1 of 68
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

        Western District Of Wisconsin
     ______________

     Case number (If known): _________________________ Chapter you are filing under:
                                                              
                                                              X   Chapter 7
                                                                 Chapter 11
                                                                 Chapter 12
                                                                 Chapter 13                                                Check if this is an
                                                                                                                               amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                           12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                        About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture        Louis
                                        __________________________________________________            __________________________________________________
                                        First name                                                    First name
       identification (for example,
       your driver’s license or         Phillip
                                        __________________________________________________            __________________________________________________
       passport).                       Middle name                                                   Middle name

       Bring your picture               Taylor
                                        __________________________________________________            __________________________________________________
       identification to your meeting   Last name                                                     Last name
       with the trustee.                ___________________________                                   ___________________________
                                        Suffix (Sr., Jr., II, III)                                    Suffix (Sr., Jr., II, III)




2.    All other names you               __________________________________________________            __________________________________________________
      have used in the last 8           First name                                                    First name
      years
                                        __________________________________________________            __________________________________________________
       Include your married or          Middle name                                                   Middle name
       maiden names.                    __________________________________________________            __________________________________________________
                                        Last name                                                     Last name

                                        __________________________________________________            __________________________________________________
                                        First name                                                    First name

                                        __________________________________________________            __________________________________________________
                                        Middle name                                                   Middle name
                                        __________________________________________________            __________________________________________________
                                        Last name                                                     Last name




3.    Only the last 4 digits of
      your Social Security              xxx    – xx – ____
                                                       5 ____
                                                           2 ____
                                                               2 ____
                                                                  6                                  xxx    – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)

Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
             Case 1-19-14070-cjf                  Doc 1          Filed 12/06/19 Entered 12/06/19 17:33:45                             Desc Main
                                                                 Document Page 2 of 68
Debtor 1        Louis Phillip Taylor
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                         
                                           X I have not used any business names or EINs.                 I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in               _________________________________________________            _________________________________________________
      the last 8 years                     Business name                                                Business name

      Include trade names and
                                           _________________________________________________            _________________________________________________
      doing business as names              Business name                                                Business name


                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN

                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN




5.    Where you live                                                                                    If Debtor 2 lives at a different address:


                                           13302 W Indian Lake Road
                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________


                                           Hayward                         WI      54843
                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code

                                           SAWYER
                                           _________________________________________________            _________________________________________________
                                           County                                                       County


                                           If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                  any notices to this mailing address.


                                           P.O. Box 1023
                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________
                                           P.O. Box                                                     P.O. Box

                                           Hayward                         WI      54843
                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                 Check one:                                                   Check one:
      this district to file for
      bankruptcy                           
                                           X Over the last 180 days before filing this petition,         Over the last 180 days before filing this petition,
                                              I have lived in this district longer than in any             I have lived in this district longer than in any
                                              other district.                                              other district.

                                            I have another reason. Explain.                             I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                      (See 28 U.S.C. § 1408.)
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________



     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
             Case 1-19-14070-cjf                  Doc 1          Filed 12/06/19 Entered 12/06/19 17:33:45                            Desc Main
                                                                 Document Page 3 of 68
Debtor 1        Louis Phillip Taylor
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                           
                                           X Chapter 7
                                            Chapter 11
                                            Chapter 12
                                            Chapter 13

8.    How you will pay the fee             
                                           X I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                   
                                           X No
      bankruptcy within the
      last 8 years?                         Yes.    District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10.   Are any bankruptcy                   
                                           X No
      cases pending or being
      filed by a spouse who is              Yes.    Debtor _________________________________________________ Relationship to you      _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11.   Do you rent your                     
                                           X No.     Go to line 12.
      residence?                            Yes.    Has your landlord obtained an eviction judgment against you?

                                                        No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




     Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
            Case 1-19-14070-cjf                         Doc 1         Filed 12/06/19 Entered 12/06/19 17:33:45                              Desc Main
                                                                      Document Page 4 of 68
Debtor 1        Louis Phillip Taylor
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 
                                                X No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________          _______      __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                
                                                X No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    
                                                X No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


  Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
            Case 1-19-14070-cjf                     Doc 1          Filed 12/06/19 Entered 12/06/19 17:33:45                                 Desc Main
                                                                   Document Page 5 of 68
Debtor 1        Louis Phillip Taylor
                _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             
                                             X I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                              I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                 Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                 Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




  Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
            Case 1-19-14070-cjf                    Doc 1          Filed 12/06/19 Entered 12/06/19 17:33:45                               Desc Main
                                                                  Document Page 6 of 68
Debtor 1       Louis Phillip Taylor
               _______________________________________________________                                  Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   No. Go to line 16b.
                                                
                                                X   Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                            No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after X Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                       
                                         X No
      administrative expenses
      are paid that funds will be         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                
                                           X 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                      
                                           X $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                             $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities             $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                               
                                           X $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                            Louis Phillip Taylor
                                              ______________________________________________               _____________________________
                                              Signature of Debtor 1                                            Signature of Debtor 2

                                                          12/06/2019
                                              Executed on _________________                                    Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
           Case 1-19-14070-cjf                  Doc 1          Filed 12/06/19 Entered 12/06/19 17:33:45                                Desc Main
                                                               Document Page 7 of 68
Debtor 1     Louis Phillip Taylor
             _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        /s/Thomas
                                         _________________________________
                                                   W. Duffy                                                 Date           _________________
                                                                                                                           12/06/2019
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                           Thomas W. Duffy
                                           _________________________________________________________________________________________________
                                           Printed name

                                           Duffy Law Office
                                           _________________________________________________________________________________________________
                                           Firm name

                                           P.O. Box 965
                                           _________________________________________________________________________________________________
                                           Number     Street

                                           _________________________________________________________________________________________________

                                           Hayward
                                           ______________________________________________________ WI
                                                                                                  ____________ 54843
                                                                                                               ______________________________
                                           City                                                   State        ZIP Code




                                                         (715) 634-4891
                                           Contact phone _____________________________________             Email address   jackieamundson@cheqnet.net
                                                                                                                           ______________________________




                                           01007941                                               WI
                                           ______________________________________________________ ____________
                                           Bar number                                                      State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
               Case 1-19-14070-cjf                  Doc 1       Filed 12/06/19 Entered 12/06/19 17:33:45                            Desc Main
                                                                Document Page 8 of 68
Fill in this information to identify your case and this filing:


Debtor 1          Louis                  Phillip               Taylor
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        Western District of Wisconsin
United States Bankruptcy Court for the: ______________________________________

Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    
    X    No. Go to Part 2.
        Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                           the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.1. _________________________________________
           Street address, if available, or other description
                                                                     Duplex or multi-unit building
                                                                     Condominium or cooperative                   Current value of the     Current value of the
                                                                     Manufactured or mobile home                  entire property?         portion you own?
             _________________________________________
                                                                     Land                                         $________________        $_______________
                                                                     Investment property
             _________________________________________
             City                    State   ZIP Code
                                                                     Timeshare                                    Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 
                                                                  Debtor 1 only
             _________________________________________
             County                                              
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                                                                       (see instructions)
                                                                 
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                    Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                
                                                                 Debtor 1 only
             ________________________________________
             County                                             
                                                                 Debtor 2 only
                                                                
                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                
                                                                 At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


   Official Form 106A/B                                         Schedule A/B: Property                                                              page 1
            Case 1-19-14070-cjf                  Doc 1           Filed 12/06/19              Entered 12/06/19 17:33:45                      Desc Main
Debtor 1       Louis        Phillip          Taylor Document
               _______________________________________________________ Page 9 of 68
                                                                                 Case number (if known)_____________________________________
               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           ________________________________________                 Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

           ________________________________________
                                                                    Investment property
           City                    State   ZIP Code                 Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                               Check if this is community property
                                                                 
                                                                  At least one of the debtors and another
                                                                                                                              (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   
   X Yes

           Make:                      Chrysler
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.1.

           Model:                     300
                                      ______________
                                                                 
                                                                 X Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.

                                      2014
                                                                 Debtor 2 only
           Year:                      ____________
                                                                 Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           Approximate mileage: ____________                     At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see                10,000.00
                                                                                                                          $________________          10,000.00
                                                                                                                                                    $________________
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                     ______________
                                                                 
                                                                  Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                 
                                                                  Debtor 2 only
           Year:                      ____________
                                                                 
                                                                  Debtor 1 and Debtor 2 only
                                                                                                                          Current value of the
                                                                                                                          entire property?
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
           Approximate mileage: ____________                     
                                                                  At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see               $________________         $________________
                                                                     instructions)




Official Form 106A/B                                             Schedule A/B: Property                                                                    page 2
             Case 1-19-14070-cjf                              Doc 1            Filed 12/06/19                      Entered 12/06/19 17:33:45                                    Desc Main
Debtor 1           Louis        Phillip          Taylor Document
                   _______________________________________________________ Page 10 of Case
                                                                                      68 number (if known)_____________________________________
                   First Name         Middle Name                Last Name




            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.

            Model:                           ______________
                                                                              
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)


            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.

            Model:                           ______________
                                                                              
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   X No
    Yes

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
            Other information:                                                
                                                                               At least one of the debtors and another                                   entire property?                 portion you own?

                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________                                                                                                                     Current value of the             Current value of the
                                                                              
                                                                               Debtor 1 and Debtor 2 only
                                                                                                                                                         entire property?                 portion you own?
            Other information:                                                
                                                                               At least one of the debtors and another

                                                                                                                                                         $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                       10,000.00
                                                                                                                                                                                         $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................ 




Official Form 106A/B                                                           Schedule A/B: Property                                                                                           page 3
              Case 1-19-14070-cjf                                  Doc 1             Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1            Louis        Phillip          Taylor
                    _______________________________________________________         Document Page 11 of Case
                                                                                                          68 number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   
   X    No
       Yes. Describe. ........                                                                                                                                                                     $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   
   X    No
       Yes. Describe. .........                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   X No
    Yes. Describe. .........                                                                                                                                                                       $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   X    No
       Yes. Describe. .........                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
   
   X Yes. Describe. ..........Smith & Wesson Pistol                                                                                                                                                  180.00
                                                                                                                                                                                                    $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
   
   X    Yes. Describe. ..........shirts, pants, shoes, jackets, etc                                                                                                                                  200.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   
   X    No
       Yes. Describe. ..........                                                                                                                                                                   $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   X    No
       Yes. Describe. ............                                                                                                                                                                 $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   X    No
       Yes. Give specific
                                                                                                                                                                                                    $___________________
        information..................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                       380.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 4
             Case 1-19-14070-cjf                                          Doc 1                 Filed 12/06/19                              Entered 12/06/19 17:33:45                                                Desc Main
Debtor 1            Louis        Phillip          Taylor Document
                    _______________________________________________________ Page 12 of Case
                                                                                       68 number (if known)_____________________________________
                    First Name              Middle Name                       Last Name




Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                           Current value of the
                                                                                                                                                                                                                      portion you own?
                                                                                                                                                                                                                      Do not deduct secured claims
                                                                                                                                                                                                                      or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition


 X     No
     Yes .....................................................................................................................................................................    Cash: .......................     $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   X   Yes .....................                                                                  Institution name:


                                             17.1. Checking account:                             Johnson Bank
                                                                                                 _________________________________________________________                                                              1,000.00
                                                                                                                                                                                                                       $__________________

                                             17.2. Checking account:                              _________________________________________________________                                                            $__________________

                                             17.3. Savings account:                               Hayward  Community Credit Union
                                                                                                  _________________________________________________________                                                             25.00
                                                                                                                                                                                                                       $__________________

                                             17.4. Savings account:                               _________________________________________________________                                                            $__________________

                                             17.5. Certificates of deposit:                       _________________________________________________________                                                            $__________________

                                             17.6. Other financial account:                       _________________________________________________________                                                            $__________________

                                             17.7. Other financial account:                       _________________________________________________________                                                            $__________________

                                             17.8. Other financial account:                       _________________________________________________________                                                            $__________________

                                             17.9. Other financial account:                       _________________________________________________________                                                            $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 X     No
     Yes ..................                Institution or issuer name:

                                             _________________________________________________________________________________________                                                                                 $__________________
                                             _________________________________________________________________________________________                                                                                 $__________________
                                             _________________________________________________________________________________________                                                                                 $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   
   X No                                      Name of entity:                                                                                                                         % of ownership:
   Yes. Give specific                      _____________________________________________________________________                                                                   ___________%                      $__________________
       information about
       them. ........................        _____________________________________________________________________                                                                   ___________%                      $__________________
                                             _____________________________________________________________________                                                                   ___________%                      $__________________




Official Form 106A/B                                                                            Schedule A/B: Property                                                                                                             page 5
             Case 1-19-14070-cjf                             Doc 1          Filed 12/06/19       Entered 12/06/19 17:33:45                Desc Main
Debtor 1           Louis        Phillip          Taylor Document
                   _______________________________________________________ Page 13 of Case
                                                                                      68 number (if known)_____________________________________
                   First Name            Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 X No
 Yes. Give specific                    Issuer name:
       information about
       them. ......................      ______________________________________________________________________________________            $__________________
                                         ______________________________________________________________________________________
                                                                                                                                           $__________________
                                         ______________________________________________________________________________________
                                                                                                                                           $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   X   No
      Yes. List each
       account separately. . Type of account:                      Institution name:

                                         401(k) or similar plan:   ___________________________________________________________________     $__________________

                                         Pension plan:             ___________________________________________________________________     $__________________

                                         IRA:                      ___________________________________________________________________     $__________________

                                         Retirement account:       ___________________________________________________________________     $__________________

                                         Keogh:                    ___________________________________________________________________     $__________________

                                         Additional account:       ___________________________________________________________________     $__________________

                                         Additional account:       ___________________________________________________________________     $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   X   No
      Yes ...........................                         Institution name or individual:

                                         Electric:             ______________________________________________________________________      $___________________
                                         Gas:                  ______________________________________________________________________      $___________________
                                         Heating oil:          ______________________________________________________________________      $___________________
                                         Security deposit on rental unit: _____________________________________________________________
                                                                                                                                           $___________________
                                         Prepaid rent:         ______________________________________________________________________
                                                                                                                                           $___________________
                                         Telephone:            ______________________________________________________________________
                                                                                                                                           $___________________
                                         Water:                ______________________________________________________________________
                                                                                                                                           $___________________
                                         Rented furniture:     ______________________________________________________________________
                                                                                                                                           $___________________
                                         Other:                ______________________________________________________________________
                                                                                                                                           $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   X   No
      Yes ...........................   Issuer name and description:
                                          _______________________________________________________________________________________          $__________________
                                         _______________________________________________________________________________________           $__________________
                                         _______________________________________________________________________________________           $__________________


Official Form 106A/B                                                        Schedule A/B: Property                                                  page 6
             Case 1-19-14070-cjf                             Doc 1           Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1           Louis        Phillip          Taylor
                   _______________________________________________________  Document Page 14 of Case
                                                                                                  68 number (if known)_____________________________________
                   First Name             Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   X   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   X   No
      Yes. Give specific information                                                                                         Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                $_________________
            and the tax years. ......................
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   X   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                   $________________
                                                                                                                             Maintenance:               $________________
                                                                                                                             Support:                   $________________
                                                                                                                             Divorce settlement:        $________________
                                                                                                                             Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   X   No
      Yes. Give specific information. ...............
                                                                                                                                                        $______________________



Official Form 106A/B                                                         Schedule A/B: Property                                                               page 7
              Case 1-19-14070-cjf                                  Doc 1             Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1            Louis        Phillip          Taylor
                    _______________________________________________________         Document Page 15 of Case
                                                                                                          68 number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
   
   X    Yes. Name the insurance company              Company name:                                                                               Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ....
                                                                      ___________________________________________ ____________________________                                                        N/A
                                                                                                                                                                                                     $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   X    No
       Yes. Give specific information. .............
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   X    No
       Yes. Give specific information. ...........
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       1,025.00
                                                                                                                                                                                                     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   
   X    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned


 X      No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 8
              Case 1-19-14070-cjf                                  Doc 1               Filed 12/06/19                         Entered 12/06/19 17:33:45                                            Desc Main
Debtor 1            Louis        Phillip          Taylor Document
                    _______________________________________________________ Page 16 of Case
                                                                                       68 number (if known)_____________________________________
                    First Name             Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   X    No
       Yes. Describe ........
                                                                                                                                                                                                    $_____________________


41. Inventory
   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________


42. Interests in partnerships or joint ventures

   
   X    No
       Yes. Describe ........ Name of entity:                                                                                                                        % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
 
 X      No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                X     No
                     Yes. Describe.........
                                                                                                                                                                                                    $____________________


44. Any business-related property you did not already list
   
   X    No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                                $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                     0.00
                                                                                                                                                                                                    $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   X No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                                  Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured claims
                                                                                                                                                                                                    or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   X    No
       Yes ...........................

                                                                                                                                                                                                      $___________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                    page 9
                 Case 1-19-14070-cjf                                    Doc 1                Filed 12/06/19                          Entered 12/06/19 17:33:45                                             Desc Main
 Debtor 1              Louis        Phillip          Taylor Document
                       _______________________________________________________ Page 17 of Case
                                                                                          68 number (if known)_____________________________________
                       First Name             Middle Name                   Last Name




48. Crops—either growing or harvested

     
     X     No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

51. Any farm- and commercial fishing-related property you did not already list

 X         No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                                $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     X     No
                                                                                                                                                                                                                 $________________
          Yes. Give specific
           information. ............                                                                                                                                                                              $________________
                                                                                                                                                                                                                  $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ...................................................................                                                          $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................      0.00
                                                                                                                                                                                                                $________________

56. Part 2: Total vehicles, line 5                                                                                    10,000.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               380.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           1,025.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                             + $________________
                                                                                                                    0.00

62. Total personal property. Add lines 56 through 61. ...................                                             11,405.00
                                                                                                                     $________________ Copy personal property total                                           + $_________________
                                                                                                                                                                                                                  11,405.00


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                        11,405.00
                                                                                                                                                                                                                $_________________



 Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                      page 10
               Case 1-19-14070-cjf              Doc 1        Filed 12/06/19 Entered 12/06/19 17:33:45                                 Desc Main
                                                            Document Page 18 of 68
 Fill in this information to identify your case:

 Debtor 1          Louis Phillip Taylor
                   __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: Western District of of
                                                              Wisconsin
                                         _____________________________________________
                                          __________ District   __________

 Case number
  (If known)
                     ___________________________________________                                                                           Check if this is an
                                                                                                                                              amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
     
     X You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own
                                                          Copy the value from         Check only one box for each exemption.
                                                          Schedule A/B

                   Checking Account with Johnson                                                                            11 U.S.C. § 522(d)(5)
                                                                                                                            ____________________________
      Brief
      description: _________________________
                   Bank
                                                  1,000.00
                                                 $________________                     
                                                                                       X $ 1,000.00
                                                                                           ____________                     ____________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: 17.1                                                                  any applicable statutory limit
                    ______                                                                                                  ____________________________

                   shirts, pants, shoes, jackets, etc                                                                       11 U.S.C. § 522(d)(3)
                                                                                                                            ____________________________
      Brief
      description: _________________________
                                                       200.00
                                                      $________________                   200.00
                                                                                       X $ ____________                     ____________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: 11
                    ______                                                                any applicable statutory limit
                                                                                                                            ____________________________
                   Smith & Wesson Pistol                                                                                    11 U.S.C. § 522(d)(5)
                                                                                                                            ____________________________
      Brief
      description:
                                                           180.00
                                                          $________________            
                                                                                       X $ 180.00
                                                                                           ____________                     ____________________________
                       _________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: ______
                    10                                                                    any applicable statutory limit
                                                                                                                            ____________________________

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     X     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                        2
                                                                                                                                                   page 1 of __
           Case 1-19-14070-cjf               Doc 1  Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1     Louis Phillip Taylor                  Document
             _______________________________________________________
                                                                     Page 19 of Case
                                                                                68 number (if known)_____________________________________
             First Name       Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line       Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule A/B

     Brief        Savings Account with Hayward                                                                   11 U.S.C. § 522(d)(5)
                                                                                                                 ____________________________
     description: Community  Credit Union
                  _________________________
                                                        25.00
                                                       $________________         25.00
                                                                              X $ ____________                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
     Schedule A/B: 17.3
                   ______                                                        any applicable statutory limit ____________________________

     Brief                                                                                                         ____________________________
     description: _________________________            $________________       $ ____________
                                                                                                                   ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                     ______                                                                                        ____________________________

     Brief                                                                                                         ____________________________
     description: _________________________            $________________       $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit    ____________________________

     Brief                                                                                                       ____________________________
     description: _________________________            $________________       $ ____________                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit ____________________________

     Brief                                                                                                         ____________________________
     description: _________________________            $________________       $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                          ______                                                                                   ____________________________

     Brief                                                                                                         ____________________________
     description: _________________________            $________________       $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit    ____________________________

                                                                                                                 ____________________________
     Brief
     description: _________________________            $________________       $ ____________                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit ____________________________

     Brief                                                                                                         ____________________________
     description: _________________________            $________________       $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                          ______                                                                                   ____________________________

     Brief                                                                                                         ____________________________
     description: _________________________            $________________       $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit    ____________________________

                                                                                                                 ____________________________
     Brief
     description: _________________________            $________________       $ ____________                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit ____________________________

     Brief                                                                                                         ____________________________
     description: _________________________            $________________       $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                          ______                                                                                   ____________________________

     Brief                                                                                                         ____________________________
     description:                                      $________________       $ ____________                     ____________________________
                    _________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit    ____________________________


Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                            2 of __
                                                                                                                                       page ___   2
               Case 1-19-14070-cjf                     Doc 1           Filed 12/06/19 Entered 12/06/19 17:33:45                                       Desc Main
                                                                      Document Page 20 of 68
Fill in this information to identify your case:

Debtor 1          Louis Phillip Taylor
                  __________________________________________________________________
                    First Name                  Middle Name                      Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                  Middle Name                      Last Name


United States Bankruptcy Court for the: Western District of Wisconsin
                                        ______________________________________

Case number         ___________________________________________
(If known)                                                                                                                                                 Check if this is an
                                                                                                                                                              amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      
      X      Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                             Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                      Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                  Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                           value of collateral.   claim                 If any

2.1                                                           Describe the property that secures the claim:                   18,187.00
                                                                                                                             $_________________  10,000.00
                                                                                                                                                $________________  8,187.00
                                                                                                                                                                  $____________
      State Farm Bank
      ______________________________________
      Creditor’s Name
                                                          2014 Chrysler 300 with miles.
      P.O. Box 5961
      ______________________________________
      Number            Street

                                                              As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                 Contingent
      Madison               WI 53705
      ______________________________________                     Unliquidated
      City                   State ZIP Code                      Disputed
   Who owes the debt? Check one.                              Nature of lien. Check all that apply.
        Debtor 1 only                                        
                                                              X   An agreement you made (such as mortgage or secured
        Debtor 2 only                                            car loan)
        Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
   
   X     At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                 Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                                                         0 ___
                                                              Last 4 digits of account number ___ 0 ___
                                                                                                     0 ___
                                                                                                        1
2.2                                                           Describe the property that secures the claim:                  $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                              As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                 Contingent
      ______________________________________                     Unliquidated
      City                          State   ZIP Code             Disputed
   Who owes the debt? Check one.                              Nature of lien. Check all that apply.
        Debtor 1 only                                           An agreement you made (such as mortgage or secured
        Debtor 2 only                                            car loan)
        Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                 Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                        Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                                  18,187.00
                                                                                                                             $_________________


  Official Form 106D                             Schedule D: Creditors Who Have Claims Secured by Property                                                                 1
                                                                                                                                                                page 1 of ___
                Case 1-19-14070-cjf                       Doc 1      Filed 12/06/19 Entered 12/06/19 17:33:45                                       Desc Main
 Fill in this information to identify your case:                    Document Page 21 of 68

 Debtor 1             Louis                 Phillip               Taylor
                      __________________________________________________________________
                       First Name                    Middle Name             Last Name

 Debtor 2              ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name             Last Name


 United States Bankruptcy Court for the: Western District of Wisconsin
                                         ______________________________________
                                                                                                                                                       Check if this is an
 Case number           ___________________________________________
  (If known)                                                                                                                                             amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:             List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         No. Go to Part 2.
        
        X Yes.
      2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                      Total claim     Priority    Nonpriority
                                                                                                                                                      amount      amount
2.1
         Internal Revenue Service
         ____________________________________________                                                  1 ___
                                                                      Last 4 digits of account number ___ 2 ___
                                                                                                             2 ___
                                                                                                                5                 3,600.00
                                                                                                                                 $_____________  3,600.00 $____________
                                                                                                                                                $___________ 0.00
         Priority Creditor’s Name

         c/o Performant Recovery Inc.
         ____________________________________________                 When was the debt incurred?          ____________
         Number             Street
         P.O. Box 9045
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.
         Pleasanton            CA      94566
         ____________________________________________                    Contingent
         City                                State      ZIP Code
                                                                         Unliquidated
         Who incurred the debt? Check one.
                                                                         Disputed
         
         X      Debtor 1 only
               Debtor 2 only                                         Type of PRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only
                                                                         Domestic support obligations
               At least one of the debtors and another
                                                                      
                                                                      X   Taxes and certain other debts you owe the government
               Check if this claim is for a community debt              Claims for death or personal injury while you were
         Is the claim subject to offset?                                  intoxicated
         
         X No                                                            Other. Specify _________________________________
          Yes
2.2      Wisconsin  Department of Revenue                                                              6 ___
                                                                                                          4 ___
                                                                                                             1 ___
                                                                                                                5
         ____________________________________________                 Last 4 digits of account number ___                             23,000.00
                                                                                                                                     $_____________  23,000.00 $____________
                                                                                                                                                    $___________ 0.00
         Priority Creditor’s Name
                                                                      When was the debt incurred?          ____________
         P.O. Box 8901
         ____________________________________________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.

         Madison               WI      53708-8901
         ____________________________________________
                                                                         Contingent
         City                                State      ZIP Code         Unliquidated
         Who incurred the debt? Check one.                               Disputed
         
         X      Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
               Debtor 2 only
                                                                         Domestic support obligations
               Debtor 1 and Debtor 2 only
               At least one of the debtors and another
                                                                      
                                                                      X   Taxes and certain other debts you owe the government
                                                                         Claims for death or personal injury while you were
               Check if this claim is for a community debt               intoxicated
         Is the claim subject to offset?                                 Other. Specify _________________________________
         
         X      No
               Yes


Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                      20
                                                                                                                                                           page 1 of ___
              Case  1-19-14070-cjf
                Louis        Phillip
                                                        Doc 1
                                                         Taylor
                                                                      Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name         Last Name   Document Page 22 of Case
                                                                                           68 number (if known)_____________________________________
  Part 2:          List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      X Yes
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims
      fill out the Continuation Page of Part 2.

                                                                                                                                                                Total claim
4.1
       ADT Security Services
       _____________________________________________________________                                                   3 ___
                                                                                      Last 4 digits of account number ___ 9 ___
                                                                                                                             2 ___
                                                                                                                                4
       Nonpriority Creditor’s Name                                                                                                                             500.00
                                                                                                                                                              $__________________
                                                                                      When was the debt incurred?           ____________
       P.O. Box 371878
       _____________________________________________________________
       Number              Street

       Pittsburgh                     PA      15250-7878
       _____________________________________________________________
       City                                             State         ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                         Contingent
       Who incurred the debt? Check one.                                                 Unliquidated
       
       X      Debtor 1 only                                                              Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                                    Student loans

             Check if this claim is for a community debt                                Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
       Is the claim subject to offset?                                                   Debts to pension or profit-sharing plans, and other similar debts
       
       X      No                                                                      
                                                                                      X   Other. Specify General Services
                                                                                                         ______________________________________
             Yes

4.2                                                                                   Last 4 digits of account number ___ ___ ___ ___                          500.00
                                                                                                                                                              $__________________
       Advance America
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                    When was the debt incurred?           ____________
       2527 E Clairemont Parkway
       _____________________________________________________________
       Number              Street
                                                                                      As of the date you file, the claim is: Check all that apply.
       Eau Claire                     WI      54701
       _____________________________________________________________
       City                                             State         ZIP Code
                                                                                         Contingent
       Who incurred the debt? Check one.                                                 Unliquidated

       
       X      Debtor 1 only
                                                                                         Disputed

             Debtor 2 only
                                                                                      Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                                    Student loans
                                                                                         Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt                                 that you did not report as priority claims
       Is the claim subject to offset?                                                   Debts to pension or profit-sharing plans, and other similar debts

       
       X      No                                                                      
                                                                                      X   Other. Specify Personal Loan
                                                                                                         ______________________________________

             Yes

4.3
       Allina Health Home Oxygen & Medical Equipment
       _____________________________________________________________                  Last 4 digits of account number ___ ___ ___ ___
                                                                                                                                                               1,800.00
       Nonpriority Creditor’s Name                                                                                                                            $_________________
                                                                                      When was the debt incurred?           ____________
       P.O. Box 9344 NW 7365
       _____________________________________________________________
       Number              Street

       Minneapolis                    MN      55440-9344
       _____________________________________________________________                  As of the date you file, the claim is: Check all that apply.
       City                                             State         ZIP Code

                                                                                         Contingent
       Who incurred the debt? Check one.
                                                                                         Unliquidated
       
       X      Debtor 1 only
                                                                                         Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                                         Student loans
             Check if this claim is for a community debt                                Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
       Is the claim subject to offset?
                                                                                         Debts to pension or profit-sharing plans, and other similar debts
       
       X      No
                                                                                      
                                                                                      X   Other. Specify Medical Services
                                                                                                         ______________________________________
             Yes




  Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                             2 of ___
                                                                                                                                                                   page __   20
              Case  1-19-14070-cjf
                Louis        Phillip
                                                       Doc 1
                                                        Taylor
                                                                       Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1           _______________________________________________________
                   First Name       Middle Name           Last Name   Document Page 23 of Case
                                                                                            68 number (if known)_____________________________________
 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                         Total claim


4.4                                                                                                                     0 ___
                                                                                       Last 4 digits of account number ___ 5 ___
                                                                                                                              3 ___
                                                                                                                                 8
      Amazon/Synchrony
      _____________________________________________________________                                                                                             1,500.00
                                                                                                                                                               $____________
      Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?          ____________
      P.O. Box 960013
      _____________________________________________________________
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      Orlando                        FL      32896-0013
      _____________________________________________________________
      City                                             State          ZIP Code            Contingent
                                                                                          Unliquidated
      Who incurred the debt? Check one.                                                   Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                          Student loans
            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       X                 Credit Card Charges
                                                                                           Other. Specify________________________________
      
      X      No
            Yes



4.5
                                                                                                                        6 ___
                                                                                       Last 4 digits of account number ___ 0 ___
                                                                                                                              4 ___
                                                                                                                                 2                              5,000.00
                                                                                                                                                               $____________
      AmeriCash Loans
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?          ____________
      2400 E Devon Ae; Ste 300
      _____________________________________________________________
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      Des Plaines                    IL      60018
      _____________________________________________________________
      City                                             State          ZIP Code            Contingent
                                                                                          Unliquidated
      Who incurred the debt? Check one.                                                   Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                          Student loans
            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       X                 Personal Loan
                                                                                           Other. Specify________________________________
      
      X      No
            Yes


4.6                                                                                                                                                             1,000.00
                                                                                                                                                               $____________
                                                                                                                        9 ___
                                                                                       Last 4 digits of account number ___ * ___
                                                                                                                              * ___
                                                                                                                                 *
      Applied Bank
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?          ____________
      P.O. Box 90165
      _____________________________________________________________
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      Philadephia                    PA          19176
      _____________________________________________________________
      City                                             State          ZIP Code            Contingent
                                                                                          Unliquidated
      Who incurred the debt? Check one.                                                   Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                          Student loans
            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       X                 Personal Loan
                                                                                           Other. Specify________________________________
      
      X      No
            Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                        3 of ___
                                                                                                                                                               page __   20
              Case  1-19-14070-cjf
                Louis        Phillip
                                                       Doc 1
                                                        Taylor
                                                                       Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1           _______________________________________________________
                   First Name       Middle Name           Last Name   Document Page 24 of Case
                                                                                            68 number (if known)_____________________________________
 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                         Total claim


4.7                                                                                                                     3 ___
                                                                                       Last 4 digits of account number ___ 2 ___
                                                                                                                              6 ___
                                                                                                                                 3
      AT & T Mobility
      _____________________________________________________________                                                                                             1,800.00
                                                                                                                                                               $____________
      Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?          ____________
      P.O. Box 6416
      _____________________________________________________________
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      Carol Stream                   IL      60197-6416
      _____________________________________________________________
      City                                             State          ZIP Code            Contingent
                                                                                          Unliquidated
      Who incurred the debt? Check one.                                                   Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                          Student loans
            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       X                 General Services
                                                                                           Other. Specify________________________________
      
      X      No
            Yes



4.8
                                                                                                                        7 ___
                                                                                       Last 4 digits of account number ___ 2 ___
                                                                                                                              3 ___
                                                                                                                                 6                              2,000.00
                                                                                                                                                               $____________
      Balance Credit
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?          ____________
      P.O. Box 4356 Dept 1557
      _____________________________________________________________
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      Houston                        TX      77210-4356
      _____________________________________________________________
      City                                             State          ZIP Code            Contingent
                                                                                          Unliquidated
      Who incurred the debt? Check one.                                                   Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                          Student loans
            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       X                 Personal Loan
                                                                                           Other. Specify________________________________
      
      X      No
            Yes


4.9                                                                                                                                                             3,000.00
                                                                                                                                                               $____________
                                                                                                                        3 ___
                                                                                       Last 4 digits of account number ___ 5 ___
                                                                                                                              0 ___
                                                                                                                                 7
      Best Buy Credit Services
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?          ____________
      P.O. Box 78009
      _____________________________________________________________
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      Phoenix                        AZ          85062-8009
      _____________________________________________________________
      City                                             State          ZIP Code            Contingent
                                                                                          Unliquidated
      Who incurred the debt? Check one.                                                   Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                          Student loans
            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       X                 Credit Card Charges
                                                                                           Other. Specify________________________________
      
      X      No
            Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                        4 of ___
                                                                                                                                                               page __   20
               Case  1-19-14070-cjf
                 Louis        Phillip
                                                        Doc 1
                                                         Taylor
                                                                        Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document Page 25 of Case
                                                                                             68 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                          Total claim


4.10                                                                                                                     4 ___
                                                                                        Last 4 digits of account number ___ 4 ___
                                                                                                                               * ___
                                                                                                                                  *
       Capital One Services
       _____________________________________________________________                                                                                             4,500.00
                                                                                                                                                                $____________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       P.O. Box 30285
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Salt Lake City                 UT      84130-0285
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes



4.11
                                                                                                                         1 ___
                                                                                        Last 4 digits of account number ___ 7 ___
                                                                                                                               4 ___
                                                                                                                                  0                              1,500.00
                                                                                                                                                                $____________
       Check into Cash
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       201 Keith St SW: Ste 80
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Cleveland                      TN      37311
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Personal Loan
                                                                                            Other. Specify________________________________
       
       X      No
             Yes


4.12                                                                                                                                                             1,500.00
                                                                                                                                                                $____________
                                                                                                                         8 ___
                                                                                        Last 4 digits of account number ___ 1 ___
                                                                                                                               0 ___
                                                                                                                                  1
       Check-N-Go
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       Plaza Services, LLC/True Accord 303 2nd Street; Ste 750 S
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       San Francisco                  CA          94107
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Personal Loan
                                                                                            Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        5 of ___
                                                                                                                                                                page __   20
               Case  1-19-14070-cjf
                 Louis        Phillip
                                                        Doc 1
                                                         Taylor
                                                                        Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document Page 26 of Case
                                                                                             68 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                          Total claim


4.13                                                                                                                     4 ___
                                                                                        Last 4 digits of account number ___ 1 ___
                                                                                                                               7 ___
                                                                                                                                  a
       Chippewa Valley Bank
       _____________________________________________________________                                                                                             150.00
                                                                                                                                                                $____________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       C/O Range Credit Bureau, Inc. P.O. Box 706
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Hibbing                        MN      55746-0706
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 General Services
                                                                                            Other. Specify________________________________
       
       X      No
             Yes



4.14
       Citi/Citigroup, Inc.                                                             Last 4 digits of account number ___ ___ ___ ___                          Unknown
                                                                                                                                                                $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       388 Greenwich Street
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       New York                       NY      10013
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes


4.15                                                                                                                                                             3,000.00
                                                                                                                                                                $____________
                                                                                                                         C ___
                                                                                        Last 4 digits of account number ___ 2 ___
                                                                                                                               9 ___
                                                                                                                                  4
       Citibank, NA
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       701 E 60th Street North
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Sioux Falls                    SD          57117
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        6 of ___
                                                                                                                                                                page __   20
               Case  1-19-14070-cjf
                 Louis        Phillip
                                                        Doc 1
                                                         Taylor
                                                                        Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document Page 27 of Case
                                                                                             68 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                          Total claim


4.16                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Clearline Loans
       _____________________________________________________________                                                                                             500.00
                                                                                                                                                                $____________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       2520 St Rose Parkway; Ste 111
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Henderson                      NV      89074
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Personal Loan
                                                                                            Other. Specify________________________________
       
       X      No
             Yes



4.17
                                                                                                                         A ___
                                                                                        Last 4 digits of account number ___ Y ___
                                                                                                                               L ___
                                                                                                                                  M                              600.00
                                                                                                                                                                $____________
       Creative Kids Learning Center
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       1180 Lampert Drive
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Spooner                        WI      54801
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 General Services
                                                                                            Other. Specify________________________________
       
       X      No
             Yes


4.18                                                                                                                                                             4,000.00
                                                                                                                                                                $____________
                                                                                                                         4 ___
                                                                                        Last 4 digits of account number ___ 9 ___
                                                                                                                               1 ___
                                                                                                                                  5
       Dell Preferred
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       c/o Portfolio Recovery Associates, LLC P.O. Box 12914
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Norfolk                        VA          23541
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        7 of ___
                                                                                                                                                                page __   20
               Case  1-19-14070-cjf
                 Louis        Phillip
                                                        Doc 1
                                                         Taylor
                                                                        Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document Page 28 of Case
                                                                                             68 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                          Total claim


4.19                                                                                                                     8 ___
                                                                                        Last 4 digits of account number ___ 8 ___
                                                                                                                               9 ___
                                                                                                                                  6
       Ditronics Financial Services
       _____________________________________________________________                                                                                             1,500.00
                                                                                                                                                                $____________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       C/O Account Recovery Services, Inc. P.O. Box 7648
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Goodyear                       AZ      85338
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Personal Loan
                                                                                            Other. Specify________________________________
       
       X      No
             Yes



4.20
       Express Cash Mart of Wisconsin, LLC                                              Last 4 digits of account number ___ ___ ___ ___                          8,000.00
                                                                                                                                                                $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       255E Dania Beach Blvd; Ste 220
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Dania Beach                    FL      33004
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Personal Loan
                                                                                            Other. Specify________________________________
       
       X      No
             Yes


4.21                                                                                                                                                             600.00
                                                                                                                                                                $____________
                                                                                        Last 4 digits of account number ___ ___ ___ ___
       Financial Recovery Services
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       P.O. Box 385908
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Minneapolis                    MN          55438-5908
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        8 of ___
                                                                                                                                                                page __   20
               Case  1-19-14070-cjf
                 Louis        Phillip
                                                        Doc 1
                                                         Taylor
                                                                        Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document Page 29 of Case
                                                                                             68 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                          Total claim


4.22                                                                                                                     4 ___
                                                                                        Last 4 digits of account number ___ 7 ___
                                                                                                                               0 ___
                                                                                                                                  9
       Furnish 123
       _____________________________________________________________                                                                                             650.00
                                                                                                                                                                $____________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       P.O. Box 33802
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Detroit                        MI      48232-9998
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes



4.23
                                                                                                                         2 ___
                                                                                        Last 4 digits of account number ___ 3 ___
                                                                                                                               2 ___
                                                                                                                                  0                              1,000.00
                                                                                                                                                                $____________
       Gander Mountain
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       c/o Portfolio Recovery Associates, LLC P.O. Box 12914
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Norfolk                        VA      23541
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes


4.24                                                                                                                                                             700.00
                                                                                                                                                                $____________
                                                                                        Last 4 digits of account number ___ ___ ___ ___
       Grand  Casino Hinckley
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       c/o Global Payments Check Services P.O. Box 59371
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Chicago                        IL          60659-0371
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 NSF Checks
                                                                                            Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        9 of ___
                                                                                                                                                                page __   20
               Case  1-19-14070-cjf
                 Louis        Phillip
                                                        Doc 1
                                                         Taylor
                                                                        Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document Page 30 of Case
                                                                                             68 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                          Total claim


4.25                                                                                                                     9 ___
                                                                                        Last 4 digits of account number ___ 1 ___
                                                                                                                               8 ___
                                                                                                                                  1
       Guitar Center/Synchrony Bank
       _____________________________________________________________                                                                                             600.00
                                                                                                                                                                $____________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       c/o Midland Credit Management P.O. Box 13105
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Roanoke                        VA      24031-3105
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes



4.26
                                                                                                                         1 ___
                                                                                        Last 4 digits of account number ___ - ___
                                                                                                                               6 ___
                                                                                                                                  5                              9,000.00
                                                                                                                                                                $____________
       Hayward Area Memorial Hospital
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       See Attachment 1
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Eau Claire                     WI      54702-1800
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Medical Services
                                                                                            Other. Specify________________________________
       
       X      No
             Yes


4.27                                                                                                                                                             3,200.00
                                                                                                                                                                $____________
                                                                                                                         7 ___
                                                                                        Last 4 digits of account number ___ 2 ___
                                                                                                                               8 ___
                                                                                                                                  8
       Hayward  Area Memorial Hospital
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       11040 N State Road 77
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Hayward                        WI          54843
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Medical Services
                                                                                            Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 10    20
                                                                                                                                                                     __ of ___
               Case  1-19-14070-cjf
                 Louis        Phillip
                                                        Doc 1
                                                         Taylor
                                                                        Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document Page 31 of Case
                                                                                             68 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                          Total claim


4.28                                                                                                                     0 ___
                                                                                        Last 4 digits of account number ___ 0 ___
                                                                                                                               0 ___
                                                                                                                                  1
       IC System
       _____________________________________________________________                                                                                             20,000.00
                                                                                                                                                                $____________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       P.O. Box 64378
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       St. Paul                       MN      55164-0378
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Transportation Services
                                                                                            Other. Specify________________________________
       
       X      No
             Yes



4.29
                                                                                                                         1 ___
                                                                                        Last 4 digits of account number ___ * ___
                                                                                                                               * ___
                                                                                                                                  *                              Unknown
                                                                                                                                                                $____________
       Jackson County Bank
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       8 Main Street
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Black River Falls              WI      54615
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Personal Loan
                                                                                            Other. Specify________________________________
       
       X      No
             Yes


4.30                                                                                                                                                             600.00
                                                                                                                                                                $____________
                                                                                        Last 4 digits of account number ___ ___ ___ ___
       Kohls Department Store
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       P.O. Box 3115
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Milwaukee                      WI          53201
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 11    20
                                                                                                                                                                     __ of ___
               Case  1-19-14070-cjf
                 Louis        Phillip
                                                        Doc 1
                                                         Taylor
                                                                        Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document Page 32 of Case
                                                                                             68 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                          Total claim


4.31                                                                                                                     0 ___
                                                                                        Last 4 digits of account number ___ 4 ___
                                                                                                                               0 ___
                                                                                                                                  8
       Kohl's Department Stores
       _____________________________________________________________                                                                                             750.00
                                                                                                                                                                $____________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       c/o Mercantile Adjustment Bureau, LLC P.O. Box 9055
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Williamsville                  NY      14231-9055
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes



4.32
       LCO Community College                                                            Last 4 digits of account number ___ ___ ___ ___                          500.00
                                                                                                                                                                $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       13466 W Trepania Road
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Hayward                        WI      54843
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Student Loan
                                                                                            Other. Specify________________________________
       
       X      No
             Yes


4.33                                                                                                                                                             9,000.00
                                                                                                                                                                $____________
                                                                                                                         2 ___
                                                                                        Last 4 digits of account number ___ 3 ___
                                                                                                                               6 ___
                                                                                                                                  2
       LCO  Federal Credit Union
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       LCO Box 1710
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Hayward                        WI          54843
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Personal Loan
                                                                                            Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 12    20
                                                                                                                                                                     __ of ___
               Case  1-19-14070-cjf
                 Louis        Phillip
                                                        Doc 1
                                                         Taylor
                                                                        Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document Page 33 of Case
                                                                                             68 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                          Total claim


4.34                                                                                                                     4 ___
                                                                                        Last 4 digits of account number ___ 0 ___
                                                                                                                               3 ___
                                                                                                                                  5
       Marshfield Clinic
       _____________________________________________________________                                                                                             2,100.00
                                                                                                                                                                $____________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       P.O. Box 856950
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Minneapolis                    MN      55485-6950
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Medical Services
                                                                                            Other. Specify________________________________
       
       X      No
             Yes



4.35
                                                                                                                         9 ___
                                                                                        Last 4 digits of account number ___ 6 ___
                                                                                                                               9 ___
                                                                                                                                  1                              250.00
                                                                                                                                                                $____________
       Maurices - Comenity
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       P.O. Box 659705
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       San Antonio                    TX      78265-9705
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes


4.36                                                                                                                                                             1,600.00
                                                                                                                                                                $____________
                                                                                        Last 4 digits of account number ___ ___ ___ ___
       Mayo  Clinic
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       P.O. Box 790127
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       St. Louis                      MO          63179-0127
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Medical Services
                                                                                            Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 13    20
                                                                                                                                                                     __ of ___
               Case  1-19-14070-cjf
                 Louis        Phillip
                                                        Doc 1
                                                         Taylor
                                                                        Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document Page 34 of Case
                                                                                             68 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                          Total claim


4.37                                                                                                                     1 ___
                                                                                        Last 4 digits of account number ___ 5 ___
                                                                                                                               8 ___
                                                                                                                                  1
       Menards Capital One Retail Services
       _____________________________________________________________                                                                                             2,300.00
                                                                                                                                                                $____________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       P.O. Box 7680
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Carol Stream                   IL      60116-7680
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes



4.38
       Midland Credit Management, Inc.                                                  Last 4 digits of account number ___ ___ ___ ___                          500.00
                                                                                                                                                                $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       P.O. Box 51319
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Los Angeles                    CA      90051-5619
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Personal Loan
                                                                                            Other. Specify________________________________
       
       X      No
             Yes


4.39                                                                                                                                                             2,000.00
                                                                                                                                                                $____________
                                                                                                                         0 ___
                                                                                        Last 4 digits of account number ___ 8 ___
                                                                                                                               4 ___
                                                                                                                                  5
       NCB  Management Services
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       P.O. Box 1099
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Langhorne                      PA          19047
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Personal Loan
                                                                                            Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 14    20
                                                                                                                                                                     __ of ___
               Case  1-19-14070-cjf
                 Louis        Phillip
                                                        Doc 1
                                                         Taylor
                                                                        Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document Page 35 of Case
                                                                                             68 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                          Total claim


4.40                                                                                                                     6 ___
                                                                                        Last 4 digits of account number ___ 6 ___
                                                                                                                               1 ___
                                                                                                                                  4
       Northlakes Community Clinic
       _____________________________________________________________                                                                                             150.00
                                                                                                                                                                $____________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       7665 US Highway 2
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Iron River                     WI      54847-4690
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Medical Services
                                                                                            Other. Specify________________________________
       
       X      No
             Yes



4.41
       Northland Counseling Services                                                    Last 4 digits of account number ___ ___ ___ ___                          550.00
                                                                                                                                                                $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       10752 Beal Avenue
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Hayward                        WI      54843
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Medical Services
                                                                                            Other. Specify________________________________
       
       X      No
             Yes


4.42                                                                                                                                                             15,000.00
                                                                                                                                                                $____________
                                                                                                                         6 ___
                                                                                        Last 4 digits of account number ___ 5 ___
                                                                                                                               4 ___
                                                                                                                                  2
       One  Main Financial
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       P.O. Box 9001122
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Louisville                     KY          40290-1122
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Personal Loan
                                                                                            Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 15    20
                                                                                                                                                                     __ of ___
               Case  1-19-14070-cjf
                 Louis        Phillip
                                                        Doc 1
                                                         Taylor
                                                                        Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document Page 36 of Case
                                                                                             68 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                          Total claim


4.43                                                                                                                     C ___
                                                                                        Last 4 digits of account number ___ 2 ___
                                                                                                                               9 ___
                                                                                                                                  4
       Rausch Sturm
       _____________________________________________________________                                                                                             3,000.00
                                                                                                                                                                $____________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       250 N Sunnyslope Road; Ste 300
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Brookfield                     WI      53005
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes



4.44
       Reliance Recoveries                                                              Last 4 digits of account number ___ ___ ___ ___                          Unknown
                                                                                                                                                                $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       P.O. Box 29227
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Minneapolis                    MN      55429-0227
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes


4.45                                                                                                                                                             Unknown
                                                                                                                                                                $____________
                                                                                        Last 4 digits of account number ___ ___ ___ ___
       Reliance Recoveries
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       6160 Summit Drive, Ste 440
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Brooklyn Center                MN          55430
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 16    20
                                                                                                                                                                     __ of ___
               Case  1-19-14070-cjf
                 Louis        Phillip
                                                        Doc 1
                                                         Taylor
                                                                        Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document Page 37 of Case
                                                                                             68 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                          Total claim


4.46                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Resource Management, Inc.
       _____________________________________________________________                                                                                             10,000.00
                                                                                                                                                                $____________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       P.O. Box 1800
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Eau Claire                     WI      54702
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Personal Loan
                                                                                            Other. Specify________________________________
       
       X      No
             Yes



4.47
                                                                                                                         0 ___
                                                                                        Last 4 digits of account number ___ 3 ___
                                                                                                                               7 ___
                                                                                                                                  8                              2,000.00
                                                                                                                                                                $____________
       Rise Financial
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       P.O. Box 101808
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Ft. Worth                      TX      76185
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Personal Loan
                                                                                            Other. Specify________________________________
       
       X      No
             Yes


4.48                                                                                                                                                             4,000.00
                                                                                                                                                                $____________
                                                                                                                         5 ___
                                                                                        Last 4 digits of account number ___ * ___
                                                                                                                               * ___
                                                                                                                                  *
       RISE/ECS
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       4150 International Plaza; Ste 300
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Ft. Worth                      TX          76109
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 17    20
                                                                                                                                                                     __ of ___
               Case  1-19-14070-cjf
                 Louis        Phillip
                                                        Doc 1
                                                         Taylor
                                                                        Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document Page 38 of Case
                                                                                             68 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                          Total claim


4.49                                                                                                                     8 ___
                                                                                        Last 4 digits of account number ___ 5 ___
                                                                                                                               2 ___
                                                                                                                                  6
       Speedy Cash
       _____________________________________________________________                                                                                             600.00
                                                                                                                                                                $____________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       See Attachment 2
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Wichita                        KS      67205
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Personal Loan
                                                                                            Other. Specify________________________________
       
       X      No
             Yes



4.50
                                                                                                                         0 ___
                                                                                        Last 4 digits of account number ___ 4 ___
                                                                                                                               9 ___
                                                                                                                                  3                              250.00
                                                                                                                                                                $____________
       Spooner Health
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       1280 Chandler Drive
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Spooner                        WI      54801-2202
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Medical Services
                                                                                            Other. Specify________________________________
       
       X      No
             Yes


4.51                                                                                                                                                             500.00
                                                                                                                                                                $____________
                                                                                                                         9 ___
                                                                                        Last 4 digits of account number ___ 1 ___
                                                                                                                               8 ___
                                                                                                                                  1
       Synchrony  Bank
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       C/O Midland Credit Management P.O. Box 51319
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Los Angeles                    CA          90051-5619
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 18    20
                                                                                                                                                                     __ of ___
               Case  1-19-14070-cjf
                 Louis        Phillip
                                                        Doc 1
                                                         Taylor
                                                                        Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document Page 39 of Case
                                                                                             68 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                          Total claim


4.52                                                                                                                     0 ___
                                                                                        Last 4 digits of account number ___ 5 ___
                                                                                                                               3 ___
                                                                                                                                  8
       Synchrony Bank
       _____________________________________________________________                                                                                             Unknown
                                                                                                                                                                $____________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       P.O. Box 960013
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Orlando                        FL      32896-0013
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes



4.53
                                                                                                                         7 ___
                                                                                        Last 4 digits of account number ___ 5 ___
                                                                                                                               1 ___
                                                                                                                                  0                              50.00
                                                                                                                                                                $____________
       UW-River Falls Police & Parking
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       103 Regional Development Institute 410 S Third Street
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       River Falls                    WI      54022
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 parking ticket
                                                                                            Other. Specify________________________________
       
       X      No
             Yes


4.54                                                                                                                                                             6,000.00
                                                                                                                                                                $____________
                                                                                                                         6 ___
                                                                                        Last 4 digits of account number ___ 9 ___
                                                                                                                               5 ___
                                                                                                                                  3
       Walmart  / Synchrony Bank
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          ____________
       P.O. Box 530927
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Atlanta                        GA          30353-0927
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                 Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 19    20
                                                                                                                                                                     __ of ___
           Case  1-19-14070-cjf
             Louis        Phillip
                                               Doc 1Taylor
                                                              Filed 12/06/19 Entered 12/06/19 17:33:45 Desc Main
Debtor 1       _______________________________________________________
               First Name    Middle Name         Last Name   Document Page 40 of Case
                                                                                   68 number (if known)_____________________________________
Part 4:     Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.      0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.      26,600.00
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.      0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                        0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                        26,600.00
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.
Total claims                                                                             0.00
                                                                                        $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.       0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.      0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                        139,200.00


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                         139,200.00
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                               page 20    20
                                                                                                                                           __ of ___
         Case 1-19-14070-cjf             Doc 1      Filed 12/06/19 Entered 12/06/19 17:33:45   Desc Main
                                                   Document Page 41 of 68

                                                Attachment
                                     Debtor: Louis Phillip Taylor Case No:


Attachment 1
     C/O Resource Management, Inc. 2211 E Clairemont Ave; P.O. Box 1800
Attachment 2
     c/o Ad Astra Recovery Services, Inc. 7330 W 33rd ST N; Ste 118
               Case 1-19-14070-cjf                Doc 1      Filed 12/06/19 Entered 12/06/19 17:33:45                               Desc Main
                                                            Document Page 42 of 68

 Fill in this information to identify your case:

 Debtor               Louis Phillip Taylor
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                        Western District of Wisconsin
 United States Bankruptcy Court for the:______________________________________

 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      X    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.

      Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code



Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                      1
                                                                                                                                              page 1 of ___
               Case 1-19-14070-cjf                       Doc 1             Filed 12/06/19 Entered 12/06/19 17:33:45                  Desc Main
                                                                          Document Page 43 of 68
 Fill in this information to identify your case:

 Debtor 1         Louis Phillip Taylor
                  __________________________________________________________________
                      First Name                    Middle Name                 Last Name

 Debtor 2             ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                        Western District of Wisconsin
 United States Bankruptcy Court for the:_______________________________________

 Case number          ____________________________________________
  (If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      X    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      X    No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number              Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

Official Form 106H                                                           Schedule H: Your Codebtors                                                     1
                                                                                                                                                 page 1 of ___
               Case 1-19-14070-cjf              Doc 1      Filed 12/06/19 Entered 12/06/19 17:33:45                             Desc Main
                                                          Document Page 44 of 68
 Fill in this information to identify your case:


 Debtor 1           Louis  Phillip Taylor
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                               Western District of Wisconsin
 United States Bankruptcy Court for the: ___________________________________________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


 1. Fill in your employment
     information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional         Employment status            
                                                                       X Employed                                    Employed
     employers.                                                         Not employed                               FillNot
                                                                                                                          outemployed
                                                                                                                             this information:
     Include part-time, seasonal, or
     self-employed work.
                                          Occupation                  Gaming  Commissioner
                                                                      __________________________________          __________________________________
     Occupation may Include student
     or homemaker, if it applies.
                                          Employer’s name            St. Croix Tribe
                                                                     __________________________________           __________________________________


                                          Employer’s address       ________________________________________     ________________________________________
                                                                     Number Street                               Number    Street

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________

                                                                    Turtle Lake, WI 54843
                                                                   ________________________________________     ________________________________________
                                                                     City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?         _______                                 _______

  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1        For Debtor 2 or
                                                                                                                   non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.      2.     3,640.00                 0.00
                                                                                              $___________             $____________

  3. Estimate and list monthly overtime pay.                                            3.   + $___________
                                                                                                0.00              + $____________
                                                                                                                     0.00

  4. Calculate gross income. Add line 2 + line 3.                                       4.     3,640.00
                                                                                              $__________               0.00
                                                                                                                       $____________




Official Form 106I                                             Schedule I: Your Income                                                           page 1
            Case 1-19-14070-cjf                            Doc 1           Filed 12/06/19 Entered 12/06/19 17:33:45                                          Desc Main
                                                                          Document Page 45 of 68
Debtor 1          Louis Phillip Taylor
                  _______________________________________________________                                                   Case number (if known)_____________________________________
                  First Name        Middle Name               Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

     Copy line 4 here ............................................................................................  4.      3,640.00
                                                                                                                            $___________            0.00
                                                                                                                                                   $_____________

  5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                            5a.      664.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5b. Mandatory contributions for retirement plans                                                             5b.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5c. Voluntary contributions for retirement plans                                                             5c.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5d. Required repayments of retirement fund loans                                                             5d.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5e. Insurance                                                                                                5e.      10.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5f. Domestic support obligations                                                                             5f.      314.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      5g. Union dues                                                                                               5g.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      5h. Other deductions. Specify: __________________________________                                            5h.    + $____________
                                                                                                                             0.00               + $_____________
                                                                                                                                                   0.00
  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.      988.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.      2,652.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________


  8. List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                                               0.00                    0.00
                                                                                                                           $____________           $_____________
            monthly net income.                                                                                    8a.
      8b. Interest and dividends                                                                                   8b.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                                           0.00                    0.00
                                                                                                                           $____________           $_____________
            settlement, and property settlement.                                                                   8c.
      8d. Unemployment compensation                                                                                8d.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8e. Social Security                                                                                          8e.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental                                            0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
          Nutrition Assistance Program) or housing subsidies.
          Specify: ___________________________________________________ 8f.

      8g. Pension or retirement income                                                                             8g.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
                                         St. Croix Tribal Per Capita
      8h. Other monthly income. Specify: _______________________________                                           8h.    + $____________
                                                                                                                             800.00              + $_____________
                                                                                                                                                    0.00
  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.      800.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

 10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                            3,452.00
                                                                                                                           $___________     +       0.00
                                                                                                                                                   $_____________           3,452.00
                                                                                                                                                                         = $_____________
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify: _______________________________________________________________________________                                                                             0.00
                                                                                                                                                                   11. + $_____________

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.      3,452.00
                                                                                                                                                                           $_____________
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      
      X     No.
           Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
               Case 1-19-14070-cjf               Doc 1         Filed 12/06/19 Entered 12/06/19 17:33:45                                 Desc Main
                                                              Document Page 46 of 68
 Fill in this information to identify your case:

 Debtor 1          Louis Phillip Taylor
                   __________________________________________________________________
                     First Name              Middle Name              Last Name                       Check if this is:
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                       An amended filing
                                                                                                       A supplement showing post-petition chapter 13
                                              Western District of Wisconsin
 United States Bankruptcy Court for the: ______________________________________                            expenses as of the following date:
                                                                                                           ________________
 Case number         ___________________________________________                                           MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

   
   X     No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                    No
                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                      No                                 Dependent’s relationship to                  Dependent’s   Does dependent live
    Do not list Debtor 1 and                
                                            X    Yes. Fill out this information for Debtor 1 or Debtor 2                         age           with you?
    Debtor 2.                                    each dependent .........................
    Do not state the dependents’                                                    Lacey Taylor                                4________      
                                                                                                                                               X    No
                                                                                    _________________________
    names.                                                                                                                                         Yes

                                                                                    Isabella Taylor
                                                                                    _________________________                   7________      
                                                                                                                                               X    No
                                                                                                                                                   Yes

                                                                                    Brenna Taylor
                                                                                    _________________________                   15
                                                                                                                                ________       
                                                                                                                                               X    No
                                                                                                                                                   Yes

                                                                                    _________________________                   ________           No
                                                                                                                                                   Yes

                                                                                    _________________________                   ________           No
                                                                                                                                                   Yes

3. Do your expenses include
    expenses of people other than
                                            
                                            X    No
    yourself and your dependents?               Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                            Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                    0.00
                                                                                                                                   $_____________________
     any rent for the ground or lot.                                                                                      4.

     If not included in line 4:
     4a.       Real estate taxes                                                                                          4a.       0.00
                                                                                                                                   $_____________________
     4b.       Property, homeowner’s, or renter’s insurance                                                               4b.       0.00
                                                                                                                                   $_____________________
     4c.       Home maintenance, repair, and upkeep expenses                                                              4c.       0.00
                                                                                                                                   $_____________________
     4d.       Homeowner’s association or condominium dues                                                                4d.       0.00
                                                                                                                                   $_____________________

 Official Form 106J                                           Schedule J: Your Expenses                                                              page 1
            Case 1-19-14070-cjf                Doc 1           Filed 12/06/19 Entered 12/06/19 17:33:45                    Desc Main
                                                              Document Page 47 of 68
Debtor 1         Louis  Phillip Taylor
                 _______________________________________________________                  Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                      0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.     200.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.     0.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.     100.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.     0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.      400.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.      160.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.      20.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.     20.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.     0.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      500.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     50.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.     0.00
                                                                                                                     $_____________________
                                                                                                                                                   16.
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.    0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.    0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.    0.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                         17a.    0.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.    0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.    0.00
                                                                                                                     $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.    0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



  Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
             Case 1-19-14070-cjf               Doc 1          Filed 12/06/19 Entered 12/06/19 17:33:45                         Desc Main
                                                             Document Page 48 of 68
Debtor 1         Louis  Phillip Taylor
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




21.    Other. Specify: _________________________________________________                                          21.     0.00
                                                                                                                        +$_____________________

22.    Calculate your monthly expenses.                                                                                   1,450.00
                                                                                                                         $_____________________
       22a. Add lines 4 through 21.
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $_____________________
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.     1,450.00
                                                                                                                         $_____________________



23. Calculate your monthly net income.

      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.
                                                                                                                           3,452.00
                                                                                                                          $_____________________

      23b.   Copy your monthly expenses from line 22 above.                                                      23b.   – $_____________________
                                                                                                                           1,450.00

      23c.   Subtract your monthly expenses from your monthly income.
             The result is your monthly net income.                                                              23c.
                                                                                                                           2,002.00
                                                                                                                          $_____________________




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      X   No.
         Yes.      Explain here:




  Official Form 106J                                         Schedule J: Your Expenses                                                        page 3
             Case 1-19-14070-cjf                         Doc 1           Filed 12/06/19 Entered 12/06/19 17:33:45                                                     Desc Main
                                                                        Document Page 49 of 68

 Fill in this information to identify your case:

 Debtor 1          Louis Phillip Taylor
                   __________________________________________________________________
                     First Name                      Middle Name                     Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the: Western District of Wisconsin
                                         ______________________________________

 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 0.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 11,405.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 11,405.00
                                                                                                                                                                            ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 18,187.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 26,600.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......................................
                                                                                                                                                                      +   $ 139,800.00
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 184,587.00
                                                                                                                                                                            ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 3,452.00
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22, Column A, of Schedule J..................................................................................                    $ 1,450.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
             Case 1-19-14070-cjf                 Doc 1          Filed 12/06/19 Entered 12/06/19 17:33:45                            Desc Main
                                                               Document Page 50 of 68
Debtor 1         Louis Phillip Taylor
                 _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    
    X Yes

7. What kind of debt do you have?

    
    X Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ 4,440.00
                                                                                                                                         _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)
                                                                                                            0.00
                                                                                                           $_____________________

    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                            26,600.00
                                                                                                           $_____________________

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                            0.00
                                                                                                           $_____________________


    9d. Student loans. (Copy line 6f.)
                                                                                                            0.00
                                                                                                           $_____________________

    9e. Obligations arising out of a separation agreement or divorce that you did not report as
        priority claims. (Copy line 6g.)                                                                    0.00
                                                                                                           $_____________________


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                 0.00
                                                                                                        + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                     26,600.00
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                Case 1-19-14070-cjf                    Doc 1      Filed 12/06/19 Entered 12/06/19 17:33:45                                Desc Main
                                                                 Document Page 51 of 68
Fill in this information to identify your case:

Debtor 1          Louis Phillip Taylor
                  __________________________________________________________________
                    First Name                 Middle Name              Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name              Last Name


United States Bankruptcy Court for the: Western District of Wisconsin
                                        _______________________________________
Case number         ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                          12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




    Louis Phillip Taylor
          ______________________________________________             
                                                                      _____________________________
         Signature of Debtor 1                                             Signature of Debtor 2


         Date 12/06/2019
              _________________                                            Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules                                         page 1
               Case 1-19-14070-cjf              Doc 1        Filed 12/06/19 Entered 12/06/19 17:33:45                           Desc Main
                                                            Document Page 52 of 68

 Fill in this information to identify your case:

 Debtor 1          Louis                   Phillip                Taylor
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: Western  District of Wisconsin
                                         ____________________________________________

 Case number         ___________________________________________
  (If known)                                                                                                                           Check if this is an
                                                                                                                                         amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Part 1:         Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?


       Married
      
      X Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

          No
     
     X     Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1      Debtor 2:                                              Dates Debtor 2
                                                                lived there                                                                lived there

                                                                                     Same as Debtor 1                                       Same as Debtor 1

               13795  N Reserve Road
               __________________________________________       From   01/01/12
                                                                        ________        ___________________________________________           From ________
               Number             Street                                                Number Street
                                                                To     09/01/19
                                                                        ________                                                              To    ________
               __________________________________________                               ___________________________________________

               Hayward WI 54843
               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State ZIP Code


                                                                                     Same as Debtor 1                                       Same as Debtor 1


               __________________________________________       From     ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     X     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1
            Case 1-19-14070-cjf                      Doc 1         Filed 12/06/19 Entered 12/06/19 17:33:45                                   Desc Main
                                                                  Document Page 53 of 68
Debtor 1        Louis Phillip Taylor
                _______________________________________________________                                   Case number (if known)_____________________________________
                First Name      Middle Name           Last Name




 Part 2: Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
    
     X     Yes. Fill in the details.

                                                            Debtor 1                                               Debtor 2

                                                            Sources of income             Gross income             Sources of income            Gross income
                                                            Check all that apply.         (before deductions and   Check all that apply.        (before deductions and
                                                                                          exclusions)                                           exclusions)


            From January 1 of current year until
                                                             
                                                             X    Wages, commissions,                                 Wages, commissions,
                                                                  bonuses, tips            7,728.00
                                                                                          $________________            bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                                 Operating a business                                Operating a business


            For last calendar year:                          
                                                             X    Wages, commissions,                                 Wages, commissions,
                                                                  bonuses, tips            58,240.00
                                                                                          $________________            bonuses, tips           $________________
            (January 1 to December 31, 2018
                                       _________)                Operating a business                                Operating a business
                                              YYYY



            For the calendar year before that:
                                                             
                                                             X    Wages, commissions,                                 Wages, commissions,
                                                                  bonuses, tips                                        bonuses, tips
                                                                                           58,240.00
                                                                                          $________________                                    $________________
            (January 1 to December 31, 2017
                                       _________)                Operating a business                                Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     X     No
          Yes. Fill in the details.
                                                             Debtor 1                                               Debtor 2

                                                             Sources of income            Gross income from         Sources of income           Gross income from
                                                             Describe below.              each source               Describe below.             each source
                                                                                          (before deductions and                                (before deductions and
                                                                                          exclusions)                                           exclusions)


                                                           __________________            $_________________ _____________________ $_________________
            From January 1 of current year until
            the date you filed for bankruptcy:             __________________            $_________________ _____________________ $_________________
                                                           __________________            $_________________ _____________________ $_________________


            For last calendar year:                        __________________            $_________________ _____________________ $_________________

            (January 1 to December 31, ______)             __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                           __________________            $_________________ _____________________ $_________________



            For the calendar year before that:             __________________            $_________________ _____________________ $_________________
            (January 1 to December 31, ______)             __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                           __________________            $_________________ _____________________ $_________________




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 2
            Case 1-19-14070-cjf                       Doc 1         Filed 12/06/19 Entered 12/06/19 17:33:45                         Desc Main
                                                                   Document Page 54 of 68
Debtor 1       Louis Phillip Taylor
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name            Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6, 825* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

 
  X        Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               
               X    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                       Dates of     Total amount paid        Amount you still owe       Was this payment for…
                                                                       payment


                      ____________________________________
                      Creditor’s Name
                                                                       _________    $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      ____________________________________             _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________             _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State        ZIP Code                                                                      Other ____________


                      ____________________________________             _________    $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                       _________                                                         Credit card
                                                                                                                                         Loan repayment
                      ____________________________________             _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State        ZIP Code
                                                                                                                                         Other ____________



                      ____________________________________             _________    $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                       _________                                                         Credit card
                                                                                                                                         Loan repayment
                      ____________________________________             _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State        ZIP Code
                                                                                                                                         Other ____________



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
            Case 1-19-14070-cjf                          Doc 1         Filed 12/06/19 Entered 12/06/19 17:33:45                          Desc Main
                                                                      Document Page 55 of 68
Debtor 1           Louis Phillip Taylor
                   _______________________________________________________                            Case number (if known)_____________________________________
                   First Name      Middle Name            Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     X     No
          Yes. List all payments to an insider.
                                                                           Dates of   Total amount      Amount you still   Reason for this payment
                                                                           payment    paid              owe


            ____________________________________________                 _________    $____________ $____________
            Insider’s Name


            ____________________________________________                 _________
            Number        Street


            ____________________________________________                 _________

            ____________________________________________
            City                                 State    ZIP Code



            ____________________________________________                              $____________ $____________
                                                                         _________
            Insider’s Name

            ____________________________________________                 _________
            Number        Street


            ____________________________________________                 _________

            ____________________________________________
            City                                 State    ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     X     No
          Yes. List all payments that benefited an insider.
                                                                          Dates of     Total amount     Amount you still   Reason for this payment
                                                                          payment      paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________                 _________    $____________ $____________
            Insider’s Name


            ____________________________________________                 _________
            Number        Street


            ____________________________________________                 _________

            ____________________________________________
            City                                 State    ZIP Code




            ____________________________________________                 _________    $____________ $____________
            Insider’s Name


            ____________________________________________                 _________
            Number        Street


            ____________________________________________                 _________

            ____________________________________________
            City                                 State    ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
            Case 1-19-14070-cjf                             Doc 1         Filed 12/06/19 Entered 12/06/19 17:33:45                                Desc Main
                                                                         Document Page 56 of 68
Debtor 1        Louis Phillip Taylor
                _______________________________________________________                                        Case number (if known)_____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     
     X     Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                 Status of the case

                                                                  Small Claims
                                                                                                        Sawyer  County Circuit Court
                                                                                                        ________________________________________        
                      Portfolio Recovery Vs.
            Case title_____________________________                                                     Court Name
                                                                                                                                                            Pending

                                                                                                                                                           On appeal
            Megan  Taylor
            ____________________________________                                                        10610  Main Street
                                                                                                        ________________________________________
                                                                                                        Number    Street                                
                                                                                                                                                        X   Concluded

            Case number 19SC316
                        ________________________                                                        Hayward   WI 54843
                                                                                                        ________________________________________
                                                                                                        City                   State   ZIP Code

                                                                  Small Claims
                                                                                                        Sawyer  County Clerk of Court
                                                                                                        ________________________________________        
                                                                                                                                                        X   Pending
                      Midland Funding Vs. Louis
            Case title_____________________________                                                     Court Name
                                                                                                                                                           On appeal
            Taylor
            ____________________________________                                                        10610  Main Street
                                                                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number 19SC271
                        ________________________                                                        Hayward   WI 54843
                                                                                                        ________________________________________
                                                                                                        City                   State   ZIP Code


 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     X     No. Go to line 11.
          Yes. Fill in the information below.

                                                                              Describe the property                                     Date          Value of the property



                 _________________________________________                                                                              __________     $______________
                 Creditor’s Name


                 _________________________________________
                 Number      Street                                           Explain what happened

                                                                                  Property was repossessed.
                 _________________________________________
                                                                                  Property was foreclosed.
                                                                                  Property was garnished.
                 _________________________________________
                 City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                              Describe the property                                     Date           Value of the property



                                                                                                                                       __________      $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                              Explain what happened

                 _________________________________________                        Property was repossessed.
                                                                                  Property was foreclosed.
                 _________________________________________                        Property was garnished.
                 City                               State   ZIP Code
                                                                                  Property was attached, seized, or levied.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
            Case 1-19-14070-cjf                       Doc 1           Filed 12/06/19 Entered 12/06/19 17:33:45                               Desc Main
                                                                     Document Page 57 of 68
Debtor 1          Louis Phillip Taylor
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     X     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     X     No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     X     No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave        Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
            Case 1-19-14070-cjf                       Doc 1             Filed 12/06/19 Entered 12/06/19 17:33:45                                      Desc Main
                                                                       Document Page 58 of 68
Debtor 1           Louis Phillip Taylor
                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     X     No
          Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
            that total more than $600                                                                                                   contributed



           _____________________________________                                                                                        _________           $_____________
           Charity’s Name


           _____________________________________                                                                                        _________           $_____________


           _____________________________________



           _____________________________________
           City           State    ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     
     X     No
          Yes. Fill in the details.

            Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
            the loss occurred                                                                                                                               lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule A/B: Property.


                                                                                                                                        _________           $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     X     Yes. Fill in the details.

                                                                   Description and value of any property transferred                    Date payment or     Amount of payment
            Duffy Law Office                                                                                                            transfer was made
            ___________________________________
            Person Who Was Paid

            P.O. Box 965
            ___________________________________
            Number       Street
                                                                                                                                        10/24/19
                                                                                                                                        _________            1,900.00
                                                                                                                                                            $_____________

            ___________________________________
                                                                                                                                        _________           $_____________
            Hayward   WI 54843
            ___________________________________
            City                       State    ZIP Code


            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
            Case 1-19-14070-cjf                       Doc 1              Filed 12/06/19 Entered 12/06/19 17:33:45                               Desc Main
                                                                        Document Page 59 of 68
Debtor 1           Louis Phillip Taylor
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or        Amount of
                                                                                                                                     transfer was made      payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     X     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     X     No
          Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
            Case 1-19-14070-cjf                      Doc 1               Filed 12/06/19 Entered 12/06/19 17:33:45                              Desc Main
                                                                        Document Page 60 of 68
Debtor 1           Louis Phillip Taylor
                   _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     X     No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     X     No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___             Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            ____________________________________                       XXXX–___ ___ ___ ___             Checking               _________              $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     X     No
          Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                               
                                                                                                                                                               X   No
            ____________________________________
            Name of Financial Institution
                                                                  _______________________________________
                                                                  Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________                                                      
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
             Case 1-19-14070-cjf                        Doc 1               Filed 12/06/19 Entered 12/06/19 17:33:45                                      Desc Main
                                                                           Document Page 61 of 68
Debtor 1            Louis Phillip Taylor
                    _______________________________________________________                                              Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    X      No
          Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?


             ___________________________________                     _______________________________________                                                                No
             Name of Storage Facility                                Name                                                                                                   Yes
             ___________________________________                     _______________________________________                                                               
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Part 9:              Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     
     X   No
          Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Part 10:             Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     X     No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10
            Case 1-19-14070-cjf                       Doc 1               Filed 12/06/19 Entered 12/06/19 17:33:45                                         Desc Main
                                                                         Document Page 62 of 68
Debtor 1           Louis Phillip Taylor
                   _______________________________________________________                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     X     No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                    Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                         _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     X     No
          Yes. Fill in the details.
                                                                                                                                                                         Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                         case

           Case title______________________________
                                                                    ________________________________
                                                                    Court Name
                                                                                                                                                                          Pending
           ______________________________________
                                                                                                                                                                          On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                    Concluded

           ______________________________________
           Case number                                              ________________________________
                                                                    City                        State   ZIP Code
                                                                                                                                                                         

 Part 11:            Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     
     X     No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________
                                                                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________

                                                                                                                                       From     _______ To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________

                                                                                                                                       From     _______ To _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                    page 11
            Case 1-19-14070-cjf                       Doc 1              Filed 12/06/19 Entered 12/06/19 17:33:45                               Desc Main
                                                                        Document Page 63 of 68
Debtor 1           Louis Phillip Taylor
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                                                                            Employer Identification number
                                                                    Describe the nature of the business
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                    Name of accountant or bookkeeper                        Dates business existed

            ____________________________________

            ____________________________________                                                                            From     _______ To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     X     No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




      Louis Phillip Taylor
            ______________________________________________                        _____________________________
            Signature of Debtor 1                                                    Signature of Debtor 2


                 12/06/2019
            Date ________________                                                    Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      X      No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      X     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
 Case 1-19-14070-cjf                     Doc 1          Filed 12/06/19 Entered 12/06/19 17:33:45                                           Desc Main
                                                       Document Page 64 of 68
B2030 (Form 2030) (12/15)




                                       United States Bankruptcy Court
                                                    WESTERN DISTRICT OF WISCONSIN



In re Louis Phillip Taylor

                                                                                                Case No. ___________________

Debtor                                                                                          Chapter 7____________________

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                              1,900.00
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                            1,900.00

     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                              0.00

2.   The source of the compensation paid to me was:

           X Debtor                                  Other (specify)

3.   The source of compensation to be paid to me is:

                Debtor                               Other (specify)

4.         X I have not agreed to share the above-disclosed compensation with any other person unless they are
           members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who are not
           members or associates of my law firm. A copy of the agreement, together with a list of the names of the
           people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
           file a petition in bankruptcy;

     b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
           hearings thereof;
 Case 1-19-14070-cjf              Doc 1       Filed 12/06/19 Entered 12/06/19 17:33:45                              Desc Main
                                             Document Page 65 of 68
B2030 (Form 2030) (12/15)

     d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e.   [Other provisions as needed]




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:
     adversary proceedings, creditor or trustee motions




                                                      CERTIFICATION

              I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
           me for representation of the debtor(s) in this bankruptcy proceeding.

           December 6, 2019
           ______________________               /s/Thomas W. Duffy
           Date                                     Signature of Attorney

                                                Duffy Law Office
                                                    Name of law firm
                    Case 1-19-14070-cjf    Doc 1           Filed 12/06/19 Entered 12/06/19 17:33:45            Desc Main
                                                          Document Page 66 of 68
          ADT Security Services                        Advance America                             Allina Health Home Oxygen &
          P.O. Box 371878                              2527 E Clairemont Parkway                   Medical
          Pittsburgh, PA 15250-7878                    Eau Claire, WI 54701                        P.O. Box 9344 NW 7365
                                                                                                   Minneapolis, MN 55440-9344
Dothins                                      Dothins




                                                                                         Dothins




          Amazon/Synchrony                             AmeriCash Loans                             Applied Bank
          P.O. Box 960013                              2400 E Devon Ae; Ste 300                    P.O. Box 90165
Dothins
          Orlando, FL 32896-0013             Dothins
                                                       Des Plaines, IL 60018             Dothins
                                                                                                   Philadephia, PA 19176




          AT & T Mobility                              Balance Credit                              Best Buy Credit Services
          P.O. Box 6416                                P.O. Box 4356                               P.O. Box 78009
          Carol Stream, IL 60197-6416                  Dept 1557                                   Phoenix, AZ 85062-8009
                                                       Houston, TX 77210-4356
Dothins                                                                                  Dothins




                                             Dothins




          Capital One Services                         Check into Cash                             Check-N-Go
          P.O. Box 30285                               201 Keith St SW: Ste 80                     Plaza Services, LLC/True Accord
          Salt Lake City, UT 84130-0285                Cleveland, TN 37311                         303 2nd Street; Ste 750 S
                                                                                                   San Francisco, CA 94107
Dothins                                      Dothins




                                                                                         Dothins




          Chippewa Valley Bank                         Citi/Citigroup, Inc.                        Citibank, NA
          C/O Range Credit Bureau, Inc.                388 Greenwich Street                        701 E 60th Street North
          P.O. Box 706                                 New York, NY 10013                          Sioux Falls, SD 57117
          Hibbing, MN 55746-0706
                                             Dothins                                     Dothins




Dothins




          Clearline Loans                              Creative Kids Learning Center               Dell Preferred
          2520 St Rose Parkway; Ste 111                1180 Lampert Drive                          c/o Portfolio Recovery
          Henderson, NV 89074                          Spooner, WI 54801                           Associates,
                                                                                                   P.O. Box 12914
Dothins                                      Dothins




                                                                                         Dothins
                                                                                                   Norfolk, VA 23541

          Ditronics Financial Services                 Express Cash Mart of Wisconsin,             Financial Recovery Services
          C/O Account Recovery Services,               LLC                                         P.O. Box 385908
          Inc.                                         255E Dania Beach Blvd; Ste 220              Minneapolis, MN 55438-5908
          P.O. Box 7648                                Dania Beach, FL 33004
                                                                                         Dothins




          Goodyear, AZ 85338
                                             Dothins




Dothins




          Furnish 123                                  Gander Mountain                             Grand Casino Hinckley
          P.O. Box 33802                               c/o Portfolio Recovery                      c/o Global Payments Check
          Detroit, MI 48232-9998                       Associates,                                 Services
                                                       P.O. Box 12914                              P.O. Box 59371
Dothins




                                             Dothins
                                                       Norfolk, VA 23541                 Dothins
                                                                                                   Chicago, IL 60659-0371

          Guitar Center/Synchrony Bank                 Hayward Area Memorial Hospital              Hayward Area Memorial Hospital
          c/o Midland Credit Management                C/O Resource Management, Inc.               11040 N State Road 77
          P.O. Box 13105                               2211 E Clairemont Ave; P.O. Box             Hayward, WI 54843
          Roanoke, VA 24031-3105                       180
                                                                                         Dothins




                                                       Eau Claire, WI 54702-1800
Dothins




                                             Dothins




          IC System                                    Internal Revenue Service                    Jackson County Bank
          P.O. Box 64378                               c/o Performant Recovery Inc.                8 Main Street
          St. Paul, MN 55164-0378                      P.O. Box 9045                               Black River Falls, WI 54615
                                                       Pleasanton, CA 94566
Dothins                                                                                  Dothins




                                             Dothins
                    Case 1-19-14070-cjf     Doc 1           Filed 12/06/19 Entered 12/06/19 17:33:45              Desc Main
                                                           Document Page 67 of 68

          Kohls Department Store                        Kohl's Department Stores                      LCO Community College
          P.O. Box 3115                                 c/o Mercantile Adjustment Bureau,             13466 W Trepania Road
          Milwaukee, WI 53201                           L                                             Hayward, WI 54843
                                                        P.O. Box 9055
Dothins                                                                                     Dothins




                                              Dothins
                                                        Williamsville, NY 14231-9055

          LCO Federal Credit Union                      Marshfield Clinic                             Maurices - Comenity
          LCO Box 1710                                  P.O. Box 856950                               P.O. Box 659705
Dothins
          Hayward, WI 54843                   Dothins
                                                        Minneapolis, MN 55485-6950          Dothins
                                                                                                      San Antonio, TX 78265-9705




          Mayo Clinic                                   Menards Capital One Retail                    Midland Credit Management, Inc.
          P.O. Box 790127                               Services                                      P.O. Box 51319
          St. Louis, MO 63179-0127                      P.O. Box 7680                                 Los Angeles, CA 90051-5619
                                                        Carol Stream, IL 60116-7680
Dothins                                                                                     Dothins




                                              Dothins




          NCB Management Services                       Northlakes Community Clinic                   Northland Counseling Services
          P.O. Box 1099                                 7665 US Highway 2                             10752 Beal Avenue
Dothins
          Langhorne, PA 19047                 Dothins
                                                        Iron River, WI 54847-4690           Dothins
                                                                                                      Hayward, WI 54843




          One Main Financial                            Rausch Sturm                                  Reliance Recoveries
          P.O. Box 9001122                              250 N Sunnyslope Road; Ste 300                P.O. Box 29227
Dothins
          Louisville, KY 40290-1122           Dothins
                                                        Brookfield, WI 53005                Dothins
                                                                                                      Minneapolis, MN 55429-0227




          Reliance Recoveries                           Resource Management, Inc.                     Rise Financial
          6160 Summit Drive, Ste 440                    P.O. Box 1800                                 P.O. Box 101808
Dothins
          Brooklyn Center, MN 55430           Dothins
                                                        Eau Claire, WI 54702                Dothins
                                                                                                      Ft. Worth, TX 76185




          RISE/ECS                                      Speedy Cash                                   Spooner Health
          4150 International Plaza; Ste 300             c/o Ad Astra Recovery Services,               1280 Chandler Drive
          Ft. Worth, TX 76109                           Inc                                           Spooner, WI 54801-2202
                                                        7330 W 33rd ST N; Ste 118
Dothins                                                                                     Dothins




                                              Dothins
                                                        Wichita, KS 67205

          State Farm Bank                               Synchrony Bank                                Synchrony Bank
          P.O. Box 5961                                 C/O Midland Credit Management                 P.O. Box 960013
          Madison, WI 53705-0961                        P.O. Box 51319                                Orlando, FL 32896-0013
                                                        Los Angeles, CA 90051-5619
Dothins                                                                                     Dothins




                                              Dothins




          UW-River Falls Police & Parking               Walmart / Synchrony Bank                      Wisconsin Department of Revenue
          103 Regional Development                      P.O. Box 530927                               P.O. Box 8901
          Institute                                     Atlanta, GA 30353-0927                        Madison, WI 53708-8901
          410 S Third Street
                                              Dothins                                       Dothins




Dothins
          River Falls, WI 54022
         Case 1-19-14070-cjf                Doc 1        Filed 12/06/19 Entered 12/06/19 17:33:45                             Desc Main
                                                        Document Page 68 of 68
                                                 UNITED STATES BANKRUPTCY COURT
                                                         Western District of Wisconsin


In re:                                                                                               Case No.
         Louis Phillip Taylor
                                              Debtors
                                                                                                     Chapter    7


                                     VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that the
         attached Master Mailing List of creditors is complete, correct and consistent with the debtor's schedules pursuant to
         Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:     December 6, 2019                                          Signed:   Louis Phillip Taylor




         Dated:                                                               Signed:



                    /s/Thomas W. Duffy
                    Thomas W. Duffy
                    Attorney for Debtor(s)
                    Bar no.: 01007941
                    P.O. Box 965
                    Hayward , Wisconsin 54843
                    Telephone No: (715) 634-4891
                    Fax No: (715) 634-5661

                    E-mail address:
                    jackieamundson@cheqnet.net
